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     Attorneys for Defendant, MARTIN SOLIS
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 8                              UNITED STATES DISTRICT COURT
 9                 EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10
11   KIMBERLY BARSAMIAN,                                 Case No. 1:07-cv-00316 OWW/GSA
12                        Plaintiff,                     ORDER RE: DEFENDANT, SOLIS’,
                                                         MOTION IN LIMINE NUMBER 5 TO
13           vs.                                         EXCLUDE TESTIMONY
                                                         REGARDING SETTLEMENT
14   CITY OF KINGSBURG, MARTIN SOLIS,                    OFFERS
     individually and in his official capacity as a
15   Police Officer for the City of Kingsburg Police
     Department and DOES 1 through 100,
16   inclusive,                                          Date: February 20, 2009
                                                         Time: 11:00 a.m.
17                        Defendants.                    Courtroom: 3
18                                                       Trial: March 3, 2009
19
             The Motion in Limine of Defendant, MARTIN SOLIS, to Exclude Testimony
20
21   Regarding Settlement Offers, came on for hearing before this Court, Attorney Peter

22   Kapetan appearing for Plaintiff, KIMBERLY BARSAMIAN, Attorney Alfred Gallegos
23   appearing for Defendant, CITY OF KINGSBURG, and Attorney Karen L. Lynch
24
     appearing for Defendant, MARTIN SOLIS.            After consideration of the briefs and
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     arguments of counsel, and all other matters presented to the Court, IT IS HEREBY
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28   ///

           ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 5 TO EXCLUDE TESTIMONY
                            REGARDING SETTLEMENT OFFERS – Page 1
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 1   ORDERED that Defendant, MARTIN SOLIS’, Motion in Limine to Exclude Testimony

 2   Regarding Settlement Offers is hereby GRANTED.
 3
     DATED: _2/26/2009____
 4
                                                ___/s/ OLIVER W WANGER_____
 5                                              UNITED STATES DISTRICT JUDGE
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        ORDER RE: DEFENDANT, SOLIS’, MOTION IN LIMINE NUMBER 5 TO EXCLUDE TESTIMONY
                         REGARDING SETTLEMENT OFFERS – Page 2
